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                    EXHIBIT 1
               Case3:14-cr-00196-CRB Document146-1
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UNITED STATES DISTRICT COURT                           THE HONORABLE CHARLES R. BREYER
NORTHERN DISTRICT OF CALIFORNIA                        Courtroom Clerk: Barbara Espinoza

CRIMINAL MINUTES

Date: December 18, 2014                                Time: 1 hr 50 minutes

Reporter: JoAnn Bryce

Case No: CR-14-00196 CRB
DEFT: Kwok Cheung Chow, Leland Yee, George Nieh, Keith Jackson, Kevin Siu, Alan Chiu, Kongphet
Chanthavong, Xiao Chen Mei, Brandon Jackson, Marlon Sullivan, Rinn Roeun, Andy Li, Leslie Yun, Yat
Wa Pau, Jane Xhen Liang, Tina Gui Liang, Bryan Tilton, Huan Ming Ma, Hon Keung So, Albert
Nhingsavath, Xiu Ling Liang, Gary Yiu Chen, Anthony John Lai, and Barry House (X) All Present
Norge Mastrangelo, Tong Z Zhang and Zhanghao Wu (X) Presence Waived

AUSA: William Frentzen, Susan Badger, Waqar Hasib

DEF ATTYS: Curtis Briggs, James Lassart, Gil Eisenberg, James Brosnahan, Raj Chatterjee, Robert
Waggener, Sara Reif also for Jayne, Claire Leary also for N Giacinti, Doron Weinberg, Tony Tamburello,
Randolph Daar, Garrick Lew, John Jordan,Teresa Caffese also for D Riordon, Michael Stepanian also
for J Gohel, Stephanie Stepanian, Harris Taback, Roger Patton, Max Mizono, Andrea Hartson for R
Knox, Jonathan Piper, Christopher Cannon, Josh Cohen, Laura Robinson, Galia Phillips

Cantonese Interpreters: Thomas Lam, Kenny Fung for K C Chow, H M Ma, H K So, X Liang
Mandarin Interpreters: May Ma, Marilyn Luong for George Nieh

                                         Proceedings
Status Conference
Motions to Sever # 613, 614617, 621and 629
                                           Summary
Trial No.1 to proceed as follows: as to count 2 with Leland Yee and Keith Jackson, counts 213, 214, 215,
216 thru 221 with Leland Yee and Keith Jackson, counts 152, 165, 166 with Keith Jackson and Brandon
Jackson, counts 158, 159, 171 with Keith Jackson, Brandon Jackson and Marlon Sullivan and count 222
with Leland Yee and Keith Jackson.

Franks motions filed on or before March 26, 2015, governments response due April 16, 2015 and
defendants replies due April 23, 2015. All defendants to be present at hearing.

All discovery including discovery which applies to informants to be held before Magistrate Judge Joseph
C. Spero.

Discovery to be produced by January 31 2015, any discovery not produced will be excluded unless
government shows good cause.

Counsel to workout suggestions for the court on process regarding motions in limine which will be heard
in June.
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Case Continued to April 30, 2015 @ 9:30 a.m. for Franks Motions
Case Continued to June 1, 2015 @ 9:00 a.m. for Jury Selection as to Leland Yee, Keith Jackson,
Brandon Jackson and Marlon Sullivan
Case Continued to June 22, 2015 @ 9:00 a.m. for Jury Selection as to Leland Yee, Keith Jackson,
Brandon Jackson and Marlon Sullivan


[X] Defendants remanded to custody: Kwok C Chow, Alan Chiu,Kongphet Chanthavong, Brandon
Jackson, Marlon Sullivan, Rinn Roeun, Andy Li,
